          Case 5:24-cv-03811-EKL Document 215 Filed 08/27/24 Page 1 of 5



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17 in Bartz et al. v. Anthropic PBC, Case 3:24-cv-
   05417 (N.D.Cal.)
18
   *(Pro Hac Vice forthcoming)
19
                                  UNITED STATES DISTRICT COURT
20
                                NORTHERN DISTRICT OF CALIFORNIA
21

22
     CONCORD MUSIC                            Case No. 5:24-cv-03811-EKL
23   GROUP, INC. ET AL.,
                                              ADMINISTRATIVE MOTION TO
24                    Plaintiffs,             CONSIDER WHETHER CASES SHOULD
                                              BE RELATED PURSUANT TO CIVIL
25   v.                                       LOCAL RULES 3-12 AND 7-11

26   ANTHROPIC PBC,                           Related Case: Bartz et al. v. Anthropic PBC, 24-
                                              cv-05417-WHA (N.D. Cal.)
27                    Defendant.

28
                                                            PLAINTIFFS’ ADMIN. MOTION TO CONSIDER
     3081720.2                                                 WHETHER CASES SHOULD BE RELATED
                                                                          CASE NO. 5:24-CV-03811-EKL
       Case 5:24-cv-03811-EKL Document 215 Filed 08/27/24 Page 2 of 5



 1               Pursuant to Civil Local Rules 3-12(b) and 7-11, counsel for Plaintiffs in Bartz et al. v.

 2   Anthropic PBC, 24-cv-05417-WHA (N.D. Cal.) (“Bartz”) submit this Administrative Motion to

 3   Consider Whether Cases Should Be Related (the “Motion”), on the grounds that the Bartz suit may

 4   be related to the instant case, Concord Music Group, Inc. et al. v. Anthropic PBC, 5:24-cv-03811-

 5   EKL (N.D. Cal.) (“Concord”). This Motion is accompanied by the Declaration of Rohit D. Nath

 6   and Exhibit 1 thereto (copy of the complaint filed in Bartz).

 7               Civil Local Rule 3-12(b) requires a party to “file . . . an Administrative Motion to Consider

 8   Whether Cases Should be Related” whenever “a party . . . believes that” another action “may be

 9   []related.” Under Local Rule 3-12(b), an action is related to another when: “(1) The allegations

10   concern substantially the same parties, property, transaction or event; and (2) It appears likely that

11   there will be an unduly burdensome duplication of labor and expense or conflicting results if the

12   cases are conducted before different Judges.”

13               Because the Bartz action “may be related” to the Concord action, Plaintiffs submit this

14   Notice in order to comply with the above Local Rule. As to the first prong, both cases involve

15   copyright infringement claims against defendant Anthropic PBC (“Anthropic”), predicated on

16   Anthropic’s development of its large language model product, Claude. Compare Bartz Complaint

17   at ⁋⁋ 1, 21 et seq., and Concord Complaint at ⁋⁋ 50 et seq.; see, e.g., Our Children’s Earth Found.

18   v. Nat’l Marine Fisheries Serv., No. 14-cv-1130, 2015 WL 4452136, at *12 (N.D. Cal. July 20,

19   2015) (relating cases involving “substantially the same matter” despite “slightly differing parties”

20   and “a differing underlying FOIA request”); JaM Cellars, Inc. v. Wine Grp. LLC, No. 19-CV-

21   01878-HSG, 2020 WL 2322992, at *1 (N.D. Cal. May 11, 2020) (consolidating trademark

22   infringement cases involving different trademarks “although the underlying products, marks, and

23   some portion of evidence differ”).

24               On the second prong, discovery regarding Anthropic’s alleged infringement may involve

25   overlapping material, including discovery into the technical features of the models. See, e.g.,

26   Pepper v. Apple Inc., No. 11-CV-06714-YGR, 2019 WL 4783951, at *1 (N.D. Cal. Aug. 22, 2019)

27   (relating cases where “significant economies exist[ed] in terms of case management”).

28               For these reasons—and with deference to the considered judgments of the assigned judges
                                                                          PLAINTIFFS’ ADMIN. MOTION TO CONSIDER
     3081720.2                                           -2-                 WHETHER CASES SHOULD BE RELATED
                                                                                        CASE NO. 5:24-CV-03811-EKL
       Case 5:24-cv-03811-EKL Document 215 Filed 08/27/24 Page 3 of 5



 1   in these matters—the Bartz Plaintiffs submit that the Concord and Bartz actions may be related,

 2   and request that the Court consider relating Bartz et al. v. Anthropic PBC, 24-cv-05417-WHA

 3   (N.D. Cal.), with Concord Music Group, Inc. et al. v. Anthropic PBC, 3:24-cv-03811-EKL (N.D.

 4   Cal.). Pursuant to Local Civil Rules 3-12(b) and 5-1(d)(7), a courtesy copy of the Motion will be

 5   lodged with the assigned Judge in the Concord and Bartz Actions.

 6               Pursuant to Civil Local Rule 7-11(b), the Bartz Plaintiffs promptly reached out to counsel

 7   for parties in the Concord Action shortly after the complaint was filed to meet and confer. See Decl.

 8   of R. Nath ¶ 4. The Concord Plaintiffs oppose the relation of the Bartz and Concord Actions, and

 9   Defendant Anthropic PBC has not taken a position at this time. Id. at ¶ 5.

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     Dated: August 27, 2024                    Respectfully submitted,
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12                                             By: /s/ Rohit D. Nath

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                                                                         PLAINTIFFS’ ADMIN. MOTION TO CONSIDER
     3081720.2                                          -3-                 WHETHER CASES SHOULD BE RELATED
                                                                                       CASE NO. 5:24-CV-03811-EKL
       Case 5:24-cv-03811-EKL Document 215 Filed 08/27/24 Page 4 of 5



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                                                           PLAINTIFFS’ ADMIN. MOTION TO CONSIDER
     3081720.2                             -4-                WHETHER CASES SHOULD BE RELATED
                                                                         CASE NO. 5:24-CV-03811-EKL
       Case 5:24-cv-03811-EKL Document 215 Filed 08/27/24 Page 5 of 5



 1                                        CERTIFICATE OF SERVICE

 2               I hereby certify that a true and correct copy of the foregoing was duly served upon all

 3   Counsel of record in:

 4                  •   Bartz et al. v. Anthropic PBC, 24-cv-05417-WHA (N.D. Cal.)

 5                  •   Concord Music Group, Inc. et al. v. Anthropic PBC, 5:24-cv-03811-EKL (N.D.

 6                      Cal.)

 7   via electronic service, in accordance with the Federal Rules of Civil Procedure, on August 27,

 8   2024.

 9
                                                            /s/ Rohit D. Nath
10                                                          Counsel for Plaintiff
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                                                                         PLAINTIFFS’ ADMIN. MOTION TO CONSIDER
     3081720.2                                           -5-                WHETHER CASES SHOULD BE RELATED
                                                                                       CASE NO. 5:24-CV-03811-EKL
